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   Attorneys for Plaintiff,
12 Janet Cook-Keville
13
                       IN THE UNITED STATES DISTRICT COURT
14
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
16 Janet Cook-Keville,                         Case No.: '16CV1590 JAH JLB
17
                    Plaintiff,
18
          vs.                                  COMPLAINT
19
20 Equifax Information Services, LLC
21 a Georgia corporation, and                  JURY TRIAL DEMAND
   Residential Credit Solutions, Inc.,
22 a Delaware corporation,
23
                   Defendants.
24
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 1        NOW COMES THE PLAINTIFF, JANET COOK-KEVILLE, BY AND
 2
     THROUGH COUNSEL, TRINETTE G. KENT, and for her Complaint against the
 3
 4 Defendants, pleads as follows:
 5                                    JURISDICTION
 6
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
 7
 8     2. This is an action brought by a consumer for violation of the Fair Credit
 9
          Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).
10
11
                                           VENUE
12
       3. The transactions and occurrences which give rise to this action occurred in the
13
14        City of San Diego, San Diego County, California.
15
       4. Venue is proper in the Southern District of California.
16
17                                        PARTIES

18
       5. The Defendants to this lawsuit are:
19
20           a. Equifax Information Services, LLC (“Equifax”), which is a Georgia
21
                corporation that maintains a registered agent in Sacramento County,
22
23              California; and

24           b. Residential Credit Solutions, Inc. (“Residential Credit Solutions”), which
25
                is a Delaware corporation that maintains a registered agent in Sacramento
26
27              County, California.
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 1                          GENERAL ALLEGATIONS
 2
      6. Residential Credit Solutions is reporting its trade line with account number
 3
 4       100067* (“Errant Trade Line”) with an inaccurate status of “Account Included
 5       in Bankruptcy” on Plaintiff’s Equifax credit file.
 6
      7. This is false as Plaintiff never filed bankruptcy. However, her ex-husband did.
 7
 8    8. In February 2016, Ms. Cook-Keville obtained her Equifax credit file and
 9
         noticed that Residential Credit Solutions reported the Errant Trade Line with a
10
11       status of “Account Included in Bankruptcy.”

12    9. On or about March 28, 2016, Ms. Cook-Keville, submitted a letter to Equifax,
13
         disputing the bankruptcy status on the Errant Trade Line. In the dispute letter,
14
15       Ms. Cook-Keville indicated the she never filed bankruptcy and that her ex-
16       husband did.
17
      10.Upon information and belief, Equifax transmitted Ms. Cook-Keville’s
18
19       consumer dispute to Residential Credit Solutions.
20
      11.On or about April 14, 2016, Ms. Cook-Keville received Equifax’s investigation
21
         results, which showed that Residential Credit Solutions retained the status of
22
23       “Account Included in Bankruptcy” on the Errant Trade Line.
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 1                                           COUNT I
 2
         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 3                 BY RESIDENTIAL CREDIT SOLUTIONS
 4
      12. Plaintiff realleges the above paragraphs as if recited verbatim.
 5
 6    13.After being informed by Equifax of Ms. Cook-Keville’s consumer dispute of
 7
         the incorrect status on the Errant Trade Line, Residential Credit Solutions
 8
         negligently failed to conduct a proper investigation of Ms. Cook-Keville’s
 9
10       dispute as required by 15 USC 1681s-2(b).
11
      14.Residential Credit Solutions negligently failed to review all relevant
12
13       information available to it and provided by Equifax in conducting its

14       reinvestigation as required by 15 USC 1681s-2(b). Specifically, it failed to
15
         direct Equifax to correct the status on the Errant Trade Line and remove the
16
17       inaccurate status of “Account Included in Bankruptcy.”
18    15.The Errant Trade Line is inaccurate and creating a misleading impression on
19
         Ms. Cook-Keville’s consumer credit file with Equifax to which it is reporting
20
21       such trade line.
22
      16.As a direct and proximate cause of Residential Credit Solution’s negligent
23
24       failure to perform its duties under the FCRA, Ms. Cook-Keville has suffered

25       damages, mental anguish, suffering, humiliation, and embarrassment.
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 1      17.Residential Credit Solutions is liable to Ms. Cook-Keville by reason of its
 2
           violations of the FCRA in an amount to be determined by the trier fact together
 3
 4         with reasonable attorneys’ fees pursuant to 15 USC 1681o.
 5      18.Ms. Cook-Keville has a private right of action to assert claims against
 6
           Residential Credit Solutions arising under 15 USC 1681s-2(b).
 7
 8
        WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment
 9
     against the Defendant Residential Credit Solutions for damages, costs, interest, and
10
11 attorneys’ fees.
12
                                              COUNT II
13
14         WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                       RESIDENTIAL CREDIT SOLUTIONS
15
16      19. Plaintiff realleges the above paragraphs as if recited verbatim.
17      20.After being informed by Equifax that Ms. Cook-Keville disputed the accuracy
18
           of the information it was providing, Residential Credit Solutions willfully failed
19
20         to conduct a proper reinvestigation of Ms. Cook-Keville’s dispute.
21
        21.Residential Credit Solutions willfully failed to review all relevant information
22
23         available to it and provided by Equifax as required by 15 USC 1681s-2(b).

24      22.As a direct and proximate cause of Residential Credit Solution’s willful failure
25
           to perform its duties under the FCRA, Ms. Cook-Keville has suffered damages,
26
27         mental anguish, suffering, humiliation, and embarrassment.
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 1      23.Residential Credit Solutions is liable to Ms. Cook-Keville for either statutory
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           damages or actual damages she has sustained by reason of its violations of the
 3
 4         FCRA in an amount to be determined by the trier fact, together with an award
 5         of punitive damages in the amount to be determined by the trier of fact, as well
 6
           as for reasonable attorneys’ fees and she may recover therefore pursuant to 15
 7
 8         USC 1681n.
 9
        WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment
10
11 against the Defendant Residential Credit Solutions for the greater of statutory or actual
12
     damages, plus punitive damages, along with costs, interest, and attorneys’ fees.
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14
                                          COUNT III
15
     NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
16
                            BY EQUIFAX
17
18      24.Plaintiff realleges the above paragraphs as if recited verbatim.

19      25.Defendant Equifax prepared, compiled, issued, assembled, transferred,
20
           published, and otherwise reproduced consumer reports regarding Ms. Cook-
21
22         Keville as that term is defined in 15 USC 1681a.
23      26.Such reports contained information about Ms. Cook-Keville that was false,
24
           misleading, and inaccurate.
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26      27.Equifax negligently failed to maintain and/or follow reasonable procedures to
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           assure maximum possible accuracy of the information it reported to one or
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 1         more third parties pertaining to Ms. Cook-Keville, in violation of 15 USC
 2
           1681e(b).
 3
 4      28. After receiving Ms. Cook-Keville’s consumer dispute to the Errant Trade Line,
 5         Equifax negligently failed to conduct a reasonable reinvestigation as required
 6
           by 15 U.S.C. 1681i.
 7
 8      29.As a direct and proximate cause of Equifax’s negligent failure to perform its
 9
           duties under the FCRA, Ms. Cook-Keville has suffered actual damages, mental
10
11         anguish and suffering, humiliation, and embarrassment.

12      30.Equifax is liable to Ms. Cook-Keville by reason of its violation of the FCRA in
13
           an amount to be determined by the trier fact together with her reasonable
14
15         attorneys’ fees pursuant to 15 USC 1681o.
16         WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment
17
     against Equifax for actual damages, costs, interest, and attorneys’ fees.
18
19                                         COUNT IV
20
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
21                           BY EQUIFAX
22
        31.Plaintiff realleges the above paragraphs as if recited verbatim.
23
24      32.Defendant Equifax prepared, compiled, issued, assembled, transferred,

25         published, and otherwise reproduced consumer reports regarding Ms. Cook-
26
           Keville as that term is defined in 15 USC 1681a.
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 1      33.Such reports contained information about Ms. Cook-Keville that was false,
 2
           misleading, and inaccurate.
 3
 4      34.Equifax willfully failed to maintain and/or follow reasonable procedures to
 5         assure maximum possible accuracy of the information that it reported to one or
 6
           more third parties pertaining to Ms. Cook-Keville, in violation of 15 USC
 7
 8         1681e(b).
 9
        35. After receiving Ms. Cook-Keville’s consumer dispute to the Errant Trade Line,
10
11         Equifax willfully failed to conduct a reasonable reinvestigation as required by

12         15 U.S.C. 1681i.
13
        36.As a direct and proximate cause of Equifax’s willful failure to perform its duties
14
15         under the FCRA, Ms. Cook-Keville has suffered actual damages, mental
16         anguish and suffering, humiliation, and embarrassment.
17
        37.Equifax is liable to Ms. Cook-Keville by reason of its violations of the FCRA in
18
19         an amount to be determined by the trier of fact together with her reasonable
20
           attorneys’ fees pursuant to 15 USC 1681n.
21
           WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment
22
23 against Defendant Equifax for the greater of statutory or actual damages, plus punitive
24
     damages along with costs, interest, and reasonable attorneys’ fees.
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 1                                   JURY DEMAND
 2
         Plaintiff hereby demands a trial by Jury.
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 4
 5 DATED: June 23, 2016
 6
                                                  KENT LAW OFFICES
 7
 8
 9                                           By: /s/ Trinette G. Kent
10                                           Trinette G. Kent
                                             Attorneys for Plaintiff,
11                                           Janet Cook-Keville
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